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                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MASSACHUSETTS

DEBORAH LAUFER, Individually,           :
                                        :
             Plaintiff,                 :
                                        :
v.                                      :               Case No. 3:20-cv-30072
                                        :
WILLOWS MOTEL, LLC, a Massachusetts     :
Corporation,                            :
                                        :
             Defendant.                 :
_______________________________________ :
                                        :
                                        :

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

WILLOWS MOTEL, LLC, a Massachusetts Corporation, (sometimes referred to as “Defendant”),

for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Florida, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps without assistive devices. Instead, Plaintiff

               is bound to ambulate in a wheelchair or with a cane or other support and has limited

               use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to

               operate. Plaintiff is also vision impaired. When ambulating beyond the comfort of her

               own home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible

               handicap parking spaces located closet to the entrances of a facility. The handicap
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         and access aisles must be of sufficient width so that she can embark and disembark

         from a ramp into her vehicle. Routes connecting the handicap spaces and all features,

         goods and services of a facility must be level, properly sloped, sufficiently wide and

         without cracks, holes or other hazards that can pose a danger of tipping, catching

         wheels or falling. These areas must be free of obstructions or unsecured carpeting

         that make passage either more difficult or impossible. Amenities must be sufficiently

         lowered so that Plaintiff can reach them. She has difficulty operating door knobs,

         sink faucets, or other operating mechanisms that tight grasping, twisting of the wrist

         or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a

         danger of scraping or burning her legs. Sinks must be at the proper height so that she

         can put her legs underneath to wash her hands. She requires grab bars both behind

         and beside a commode so that she can safely transfer and she has difficulty reaching

         the flush control if it is on the wrong side. She has difficulty getting through

         doorways if they lack the proper clearance.

2.       Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

         "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

         determining whether places of public accommodation and their websites are in

         compliance with the ADA.

3.       According to the county property records, Defendant owns a place of public

         accommodation as defined by the ADA and the regulations implementing the ADA,

         28 CFR 36.201(a) and 36.104. The place of public accommodation that the

         Defendant owns is a place of lodging known as


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Willows Motel, a hotel business located at 480 Main Street, Williamstown, MA 01267, and is

located in the County of Berkshire, (hereinafter "Property").

4.             Venue is properly located in this District because the injury occurred in this district.

5.             Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

               original jurisdiction over actions which arise from the Defendant’s violations of Title

               III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

               U.S.C. § 2201 and § 2202.

6.             As the owner of the subject place of lodging, Defendant is required to comply with

               the ADA. As such, Defendant is required to ensure that it's place of lodging is in

               compliance with the standards applicable to places of public accommodation, as set

               forth in the regulations promulgated by the Department Of Justice. Said regulations

               are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

               Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

               by reference into the ADA. These regulations impose requirements pertaining to

               places of public accommodation, including places of lodging, to ensure that they are

               accessible to disabled individuals.

7.             More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

               requirement:

               Reservations made by places of lodging. A public accommodation that owns,
               leases (or leases to), or operates a place of lodging shall, with respect to
               reservations made by any means, including by telephone, in-person, or through a
               third party -
                       (i) Modify its policies, practices, or procedures to ensure that individuals
                       with disabilities can make reservations for accessible guest rooms during



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                 the same hours and in the same manner as individuals who do not need
                 accessible rooms;
                 (ii) Identify and describe accessible features in the hotels and guest rooms
                 offered through its reservations service in enough detail to reasonably
                 permit individuals with disabilities to assess independently whether a
                 given hotel or guest room meets his or her accessibility needs;
                 (iii) Ensure that accessible guest rooms are held for use by individuals
                 with disabilities until all other guest rooms of that type have been rented
                 and the accessible room requested is the only remaining room of that type;
                 (iv) Reserve, upon request, accessible guest rooms or specific types of
                 guest rooms and ensure that the guest rooms requested are blocked and
                 removed from all reservations systems; and
                 (v) Guarantee that the specific accessible guest room reserved through its
                 reservations service is held for the reserving customer, regardless of
                 whether a specific room is held in response to reservations made by others.

8.        These regulations became effective March 15, 2012.

9.        Defendant, either itself or by and through a third party, accepts reservations for its

          hotel online through one or more websites. The purpose of these websites is so

          that members of the public may reserve guest accommodations and review

          information pertaining to the goods, services, features, facilities, benefits,

          advantages, and accommodations of the Property. As such, these websites are

          subject to the requirements of 28 C.F.R. Section 36.302(e).

10.       Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

          purpose of reviewing and assessing the accessible features at the Property and

          ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

          her accessibility needs. However, Plaintiff was unable to do so because Defendant

          failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

          As a result, Plaintiff was deprived the same goods, services, features, facilities,

          benefits, advantages, and accommodations of the Property available to the general


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          public. Specifically, the third-party booking sites www.booking.com,

          www.orbitz.com, www.expedia.com, and www.priceline.com, and

          www.hotels.com did not comply with the regulation because they did not identify

          accessible rooms, did not allow for booking of accessible rooms and provided

          insufficient information as to whether the rooms or features at the hotel are

          accessible. Hotel room types and amenities are all listed in detail but information

          about accessibility in the hotel was essentially non-existent, with the exception of

          the statements “Accessible bathroom”, “Wheelchair-accessible parking”,

          “Wheelchair-accessible path of travel” and “In-room accessibility”.




11.       In the near future, Plaintiff intends to revisit Defendant's websites and/or online

          reservations system in order to test them for compliance with 28 C.F.R. Section

          36.302(e) and/or to utilize the websites to reserve a guest room and otherwise

          avail herself of the goods, services, features, facilities, benefits, advantages, and

          accommodations of the Property.

12.       Plaintiff is continuously aware that the subject websites remain non-compliant and

          that it would be a futile gesture to revisit the websites as long as those violations

          exist unless she is willing to suffer additional discrimination.




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13.       The violations present at Defendant's websites infringe Plaintiff's right to travel

          free of discrimination and deprive her of the information required to make

          meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

          frustration and humiliation as the result of the discriminatory conditions present at

          Defendant's website. By continuing to operate the websites with discriminatory

          conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

          and deprives Plaintiff the full and equal enjoyment of the goods, services,

          facilities, privileges and/or accommodations available to the general public. By

          encountering the discriminatory conditions at Defendant's website, and knowing

          that it would be a futile gesture to return to the websites unless she is willing to

          endure additional discrimination, Plaintiff is deprived of the same advantages,

          privileges, goods, services and benefits readily available to the general public. By

          maintaining a websites with violations, Defendant deprives Plaintiff the equality

          of opportunity offered to the general public. Defendant's online reservations

          system serves as a gateway to its hotel. Because this online reservations system

          discriminates against Plaintiff, it is thereby more difficult to book a room at the

          hotel or make an informed decision as to whether the facilities at the hotel are

          accessible.

14.       Plaintiff has suffered and will continue to suffer direct and indirect injury as a

          result of the Defendant’s discrimination until the Defendant is compelled to

          modify its websites to comply with the requirements of the ADA and to

          continually monitor and ensure that the subject websites remain in compliance.


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15.       Plaintiff has a realistic, credible, existing and continuing threat of discrimination

          from the Defendant’s non-compliance with the ADA with respect to these

          websites. Plaintiff has reasonable grounds to believe that she will continue to be

          subjected to discrimination in violation of the ADA by the Defendant.

16.       The Defendant has discriminated against the Plaintiff by denying her access to,

          and full and equal enjoyment of, the goods, services, facilities, privileges,

          advantages and/or accommodations of the subject website.

17.       The Plaintiff and all others similarly situated will continue to suffer such

          discrimination, injury and damage without the immediate relief provided by the

          ADA as requested herein.

18.       Defendant has discriminated against the Plaintiff by denying her access to full and

          equal enjoyment of the goods, services, facilities, privileges, advantages and/or

          accommodations of its place of public accommodation or commercial facility in

          violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

          Defendant continues to discriminate against the Plaintiff, and all those similarly

          situated by failing to make reasonable modifications in policies, practices or

          procedures, when such modifications are necessary to afford all offered goods,

          services, facilities, privileges, advantages or accommodations to individuals with

          disabilities; and by failing to take such efforts that may be necessary to ensure that

          no individual with a disability is excluded, denied services, segregated or

          otherwise treated differently than other individuals because of the absence of

          auxiliary aids and services.


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19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make them readily accessible and useable to the Plaintiff and

             all other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by closing the websites until such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its websites to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the websites to ensure that it remains in compliance with said requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.

             Respectfully Submitted,


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